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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


 EAST BRUNSWICK TOWNSHIP BOARD
 OF EDUCATION,

                      Plaintiff,                Case No. 2:21-cv-08279 (BRM) (JSA)
                       v.
                                                              ORDER
 D.S. and M.S. o/b/o A.S.,

                      Defendants.


       THIS MATTER is opened to the Court on Defendant D.S. and M.S., on behalf of A.S.’s

(collectively “Defendants”) Motion for Summary Judgment, pursuant to Federal Rule of Civil

Procedure 56. (ECF No. 59-3.) Plaintiff East Brunswick Township Board of Education (“BOE”)

filed an Opposition. (ECF No. 59-6.) Defendants filed a Reply. (ECF No. 59-7.) Having reviewed

the submissions filed in connection with the Motion and having declined to hold oral argument

pursuant to Federal Rule of Civil Procedure 78(b), for the reasons set forth in the accompanying

Opinion and for good cause having been shown,

       IT IS on this 28th day of June 2023,

       ORDERED that Defendants’ Motion for Summary Judgment is GRANTED in part, and

DENIED in part.



                                                   /s/ Brian R. Martinotti
                                                   HON. BRIAN R. MARTINOTTI
                                                   UNITED STATES DISTRICT JUDGE
